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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 Case No. 4:11CR00022-2 JMM

MCKLEEN DEVON ALLEN                                                               DEFENDANT


        ORDER MODIFYING CONDITIONS OF RELEASE (NUNC PRO TUNC)

       Defendant’s conditions are hereby modified to require that he reside with his mother Mary

Thomas at the address provided to the Court at the time of his plea and arraignment on January 24,

2011. All other conditions remain in effect.

       IT IS SO ORDERED this 1st day of March, 2013.



                                                    ____________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
